       Case 2:21-cv-03502-PA-RAO Document 21 Filed 04/29/21 Page 1 of 2 Page ID #:131
 NAME, ADDRESS, AND TELEPHONE NUMBER OF ATTORNEY(S)
 OR OF PARTY APPEARING IN PRO PER
 FARHAD NOVIAN (SBN 118129)
 farhad@novianlaw.com
 MICHAEL O’BRIEN (SBN 277244)
 mobrien@novianlaw.com
 NOVIAN & NOVIAN, LLP
 1801 Century Park East, Suite 1201
 Los Angeles, California 90067

 ATTORNEY(S) FOR:    Plaintiff TRILLER FIGHT CLUB II LLC
                                               UNITED STATES DISTRICT COURT
                                              CENTRAL DISTRICT OF CALIFORNIA
TRILLER FIGHT CLUB II LLC, a Delaware                                         CASE NUMBER:

Limited Liability Company,                                                                      2:21-cv-03502-PA-RAO
                                                              Plaintiff(s),
                                     v.
FILMDAILY.COM, an unknown business entity,
                                                                                             CERTIFICATION AND NOTICE
et al.,
                                                                                               OF INTERESTED PARTIES
                                                             Defendant(s)                          (Local Rule 7.1-1)

TO:      THE COURT AND ALL PARTIES OF RECORD:

The undersigned, counsel of record for                       Plaintiff TRILLER FIGHT CLUB II LLC
or party appearing in pro per, certifies that the following listed party (or parties) may have a pecuniary interest in
the outcome of this case. These representations are made to enable the Court to evaluate possible disqualification
or recusal.
                (List the names of all such parties and identify their connection and interest. Use additional sheet if necessary.)

                      PARTY                                       CONNECTION / INTEREST
TRILLER FIGHT CLUB II LLC, a Delaware Limited Liability Plaintiff
Company
FILMDAILY.COM, an unknown business entity               Defendant
ACCESSTVPRO.CO, an unknown business entity              Defendant
ONLINE2LIVESTREAM.US, an unknown business entity Defendant
CRACKSTREAMSLIVE.COM, an unknown business entity Defendant
SPORTS-TODAY.CLUB, an unknown business entity           Defendant
MY-SPORTS.CLUB, an unknown business entity              Defendant
BILASPORT.COM, an unknown business entity               Defendant
TRENDY CLIPS, an unknown business entity                Defendant
MIKE, an unknown business entity                        Defendant
YOUR EXTRA, an unknown business entity                  Defendant
ECLIPT GAMING, an unknown business entity               Defendant
See Attachment for Additional Parties

         April 29, 2021                                    /s/ Farhad Novian
         Date                                              Signature


                                                           Attorney of record for (or name of party appearing in pro per):

                                                           Plaintiff TRILLER FIGHT CLUB II LLC


CV-30 (05/13)                                           NOTICE OF INTERESTED PARTIES
Case 2:21-cv-03502-PA-RAO Document 21 Filed 04/29/21 Page 2 of 2 Page ID #:132




     ATTACHMENT TO CERTIFICATION AND NOTICE OF INTERESTED PARTIES


 PARTY                                               CONNECTION/INTEREST
 ITSLILBRANDON, an unknown business entity           Defendant
 the H3 PODCAST, an unknown business entity          Defendant
 H3H3 PRODUCTIONS, an unknown business entity        Defendant
